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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
KEVIN L. DICKENS,
Plaintiff,
v. Civ. No. 10-786-LPS
DEPUTY WARDEN KLEIN, et al., d

Defendants.

 

Kevin L. Dickens, ]ames T. Vaughn Correctjonal Center, Smyrna, DelaWare, Pro Se Plaintiff.

Ryan P. Conne]l, Deputy Attorney General Deputy, DelaWare Department of]ustice, Wilmmgton,
DelaWare. Counsel for State Defendants.

MEMORANDUM OPINION

March 23, 2017
Wilm'mgton, DelaWare

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ST R ,U.S.Distri ]udge:

I. INTRODUCTION

   

Plaintiff Kevin L. Dickens (“Plaiiitiff”) Eled this civil rights action on September 16, 2010,
pursuant to 42 U.S.C. § 1983. (D.l. 2) He appears pro re and Was granted leave to proceed inforch
paz/pmi (D.l. 13) Pending is State Defendants’ motion to dismiss for failure to prosecute.1 (D.l.
79) Plaintiff did not respond to the motion. The Court has jurisdiction pursuant to 28 U.S.C.

§ 1331. F or the reasons that folloW, the Court Wi]l grant the motion.
II. BACKGROUND

As noted, Plaintiff commenced this action in 2010 and, since then, numerous defendants
and claims have been dismissed. Before the remaining State Defendants answered the Complaint,
they moved to sever Plaintiff’s. (J"ee D.l. 64) Plaintiff did not respond to the motion. On March
13, 2015, the Court denied the motion to sever and ordered Plaintiff to shoW cause Why some
of the Defendants should not be dismissed for failure to serve Within 120 days. (D.l. 74) ln
response, Plaintiff sought an extension of time to serve. (D.l. 75) Plaintiff Eled a response to the
shoW cause order on May 4, 2015. (D.l. 76) The Court found that Plaintiff failed to show cause
Why the defendants at issue should not be dismissed for failure to serve. (J"ee D.l. 77)

On December 9, 2015, the Court entered a scheduling order that provided a discovery
deadline of]uly 11, 2016 and a dispositive motion deadline of August 11, 2016. (J"ee D.l. 78)
According to State Defendants, Plaintiff has conducted no discovery, and the docket supports their
position. State Defendants now move to dismiss for failure to prosecute. (D.l. 79) Plaintiff did not

Ele a response to the motion.

 

1The Court has dismissed numerous defendants and claims. (J"ee D.l. 16, 54, 77)

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III. LEGAL STANDARDS

Pursuant to Fed. R. Civ. P. 41 (b), a court may dismiss an action “[f] or failure of the plaintiff
to prosecute or to comply with [the Federal Rules] or any order of court . . . .” Although dismissal is
an extreme sanction that should only be used in limited circumstances, dismissal is appropriate if a
party fails to prosecute the action. lee Hezm'i y. Cz'§/ t)fP/yz'/aa'e§D/yz'a, 47 F.Bd 1311, 1330 (3d Cir. 1995).
Under Local Rule 41 .1 in a case pending wherein no action has been taken for a period of three
months, upon application of any party, and after reasonable notice and opportunity to be heard, the
Court may enter an order dismissing the case unless good reason for the inaction is given. lee D.
Del. LR 41.1.

The following six factors are considered in determining whether dismissal is warranted:
(1) the extent of the party’s personal responsibility; (2) the prejudice to the adversary caused by the
failure to meet scheduling orders and.respond to discovery; (3) a history of dilatoriness; (4) whether
the conduct of the party was willful or in bad faith; (5) the effectiveness of sanctions other than
dismissal, which entails an analysis of other sanctions; and (6) the meritoriousness of the claim or
defense. lee Pou/z'i a l tate Famz Fz`re and Cai. Co., 747 F.2d 863, 868 (3d Cir. 1984). The Court must
balance the factors and need not find that all of them weigh against Plaintiff in order to dismiss the
action. lee Emerson z). T/)z'e/ Co//., 296 F.3d 184, 190 (3d Cir. 2002). Because dismissal for failure to
prosecute involves a factual inquiry, it can be appropriate even if some of Pou/z`i factors are not
satisfied lee Hz`e,éi v. Feeney, 850 F.2d 152, 156 (F)d Cir. 1998).
IV. DISCUSSION

State Defendants move for dismissal based upon Plaintiff’ s failure to take any action in this

case since May of 2015. As noted, Plaintiff did not respond to the motion.

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The Court finds that the Pou/z`in factors warrant dismissal of Plaintist case. First, as a pro fe
litigant, Plaintiff is solely responsible for prosecuting his claim. lee HoXu/orll) a B/z'nder, Ro/az'm"on €’7’
Co., 980 F.2d 912, 920 (3d Cir. 1992). Second, State Defendants are prejudiced by Plaintiff’s failure
to prosecute Prejudice occurs when a plaintist failure to prosecute burdens the defendant’s ability
to prepare for trial. lee Ware v. Roda/e Pren", lne., 322 F.3d 218, 222-23 (3d Cir. 2003). Here, Plaintiff
has conducted no discovery and the discovery deadline now passed.

As to the third factor, the Court docket indicates a history of dilatoriness. lndeed, several
Defendants were dismissed for Plaintiff’ s failure to timely serve them, Plaintiff has failed to respond
to motions, he has conducted no discovery, he did not file any dispositive motions, he did not
respond to the instant motion, and he has taken no action in this matter since May of 2015. As to
the fourth factor, the facts to date lead to a conclusion that Plaintiff’ s failure to prosecute his claim
against State Defendants is willful Only Plaintiff can take steps to prosecute the case.

As to the fifth factor, there are no alternative sanctions the Court could effectively impose
Precluding Plaintiff from presenting evidence at trial would have essentially the same effect as
dismissal. Granting summary judgment in favor of State Defendants or forbidding Plaintiff from
pursuing discovery would also have essentially the same effect as dismissal Finally, a monetary
sanction is ineffective inasmuch as Plaintiff proceeds inf)mapaupen`i. The sixth factor, the merits of
the claim, is neutral, given that no discovery has been conducted

Accordingly, the Court finds the Pou/z`in factors weigh in favor of dismissal.

V. CONCLUSION
The Court will grant State Defendants’ motion to dismiss for Plaintiff’ s failure to prosecute.

(D.l. 79) An appropriate Order will be entered.

